Case 1:09-cr-00041-HSO-JMR   Document 44   Filed 01/24/11   Page 1 of 6
Case 1:09-cr-00041-HSO-JMR   Document 44   Filed 01/24/11   Page 2 of 6
Case 1:09-cr-00041-HSO-JMR   Document 44   Filed 01/24/11   Page 3 of 6
Case 1:09-cr-00041-HSO-JMR   Document 44   Filed 01/24/11   Page 4 of 6
Case 1:09-cr-00041-HSO-JMR   Document 44   Filed 01/24/11   Page 5 of 6
Case 1:09-cr-00041-HSO-JMR   Document 44   Filed 01/24/11   Page 6 of 6
